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                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO




 AZAD HAJI ABDULLAH,                              Case No. 1:17-cv-00098-BLW
                                                  (former case no. 15-mc-08251-BLW)
                         Petitioner,
                                                  CAPITAL CASE
     v.
                                                  MEMORANDUM DECISION
 AL RAMIREZ,                                      AND ORDER

                         Respondent.


          Pending before the Court in this capital habeas corpus matter are Petitioner’s

Motion to Stay and Motion for Access to Grand Jury Transcript. (Dkts. 3, 7.) The

motions are fully briefed and ripe for adjudication. Having reviewed the record and

considered the argument of the parties, the Court enters the following Order.

                           REVIEW OF MOTION TO STAY

          Petitioner was convicted of first-degree murder and other related crimes arising

from an incident of arson at Petitioner’s residence, all in a state criminal action in the

Fourth Judicial District Court in Ada County, Idaho. Petitioner’s sentence of death on the

murder charge was imposed on March 4, 2005. Ten years later, on March 2, 2015, the

Idaho Supreme Court affirmed Petitioner’s convictions and sentences and affirmed

dismissal of his post-conviction action. Counting the currently-pending successive post-

conviction case, Petitioner’s case has been pending in state court for thirteen years.



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       Petitioner’s first federal habeas corpus filings in this Court were on August 25,

2015. He was permitted to file his federal habeas corpus petition at any time within the

statutory one-year time frame. He filed his Petition on February 24, 2017. Petitioner now

requests that this Court stay this two-and-a-half-year-old action until his successive post-

conviction petition is adjudicated, through the level of the Idaho Supreme Court, if

necessary. (Dkt. 3.) The case is currently in state district court.

       Petitioner’s Petition for Writ of Habeas Corpus is the first new capital habeas case

filed in the District of Idaho for many years. During those years, the Court has changed

many of its procedures to keep up with the evolution of habeas procedural rules. For

example, recent case law allows habeas petitioners the opportunity to have de novo

evidentiary hearings in federal court on procedurally-defaulted claims, whereas

petitioners who properly exhausted their claims in state court are denied that opportunity.

Cf. Martinez v. Ryan, 566 U.S. 1 (2012), with Cullen v. Pinholster, 563 U.S. 170 (2011).

Habeas corpus procedure is as confusing as it is complex. Not surprisingly, the United

States Supreme Court has suggested that the merits of non-defaulted claims should be

heard ahead of other claims where difficult procedural hurdles must be cleared before the

merits of those other claims can be addressed. See Dretke v. Haley, 541 U.S. 386, 393–94

(2004) (“[A] federal court faced with allegations of actual innocence, whether of the

sentence or of the crime charged, must first address all non-defaulted claims for

comparable relief and other grounds for cause to excuse the procedural default.”)

(emphasis added). Accordingly, this Court has, in some habeas corpus cases, required



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merits-based claims to be briefed and adjudicated ahead of complex procedural issues

that would require evidentiary development.

       On another procedural front, in an effort to treat petitioners equitably in the face of

habeas procedural rules requiring both complete exhaustion of claims and the filing of

the federal petition within one year of finality of the state court judgment, the federal

courts have crafted what has become, but was not intended to be, a tangled web of

procedural exceptions involving the question of stays—the current issue in Petitioner’s

case. As a matter of comity, a federal court will not entertain a habeas corpus petition

unless the petitioner has exhausted the available state judicial remedies on every ground

presented in a petition. Rose v. Lundy, 455 U.S. 509, 518-22 (1982). The habeas statute

explicitly provides that a habeas petition brought by a person in state custody “shall not

be granted unless it appears that … the applicant has exhausted the remedies available in

the courts of the State.” 28 U.S.C. § 2254(b)(1)(A).

       However, after Rose v. Lundy, Congress’s imposition of a one-year statute of

limitations and a successive-petitions bar in the Anti-Terrorism and Effective Death

Penalty Act of 1996 (“AEDPA”) made federal courts scramble to carve out procedural

paths to provide habeas petitioners with every opportunity to both exhaust their state

court remedies and file their petitions on time. The stay is one of these procedural paths.

       In Ryan v. Gonzales, the United States Supreme Court considered the very

difficult issue of whether two petitioners’ incompetence warranted an indefinite stay of

their habeas corpus actions. 568 U.S. 57 (2013). There, the Court reasoned:



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                         Neither petitioner disputes that “[d]istrict courts ...
                 ordinarily have authority to issue stays, where such a stay
                 would be a proper exercise of discretion.” Rhines v. Weber,
                 544 U.S. 269, 276, 125 S.Ct. 1528, 161 L.Ed.2d 440 (2005)
                 (citation omitted); see also Enelow v. New York Life Ins. Co.,
                 293 U.S. 379, 382, 55 S.Ct. 310, 79 L.Ed. 440 (1935)
                 (explaining that a district court may stay a case “pending
                 before it by virtue of its inherent power to control the
                 progress of the cause so as to maintain the orderly processes
                 of justice”). Similarly, both petitioners agree that “AEDPA
                 does not deprive district courts of [this] authority.” Rhines,
                 supra, at 276, 125 S.Ct. 1528. Petitioners and respondents
                 disagree, however, about the types of situations in which a
                 stay would be appropriate and about the permissible duration
                 of a competency-based stay. We do not presume that district
                 courts need unsolicited advice from us on how to manage
                 their dockets. Rather, the decision to grant a stay, like the
                 decision to grant an evidentiary hearing, is “generally left to
                 the sound discretion of district courts.” Schriro v. Landrigan,
                 550 U.S. 465, 473, 127 S.Ct. 1933, 167 L.Ed.2d 836 (2007).
                 For purposes of resolving these cases, it is unnecessary to
                 determine the precise contours of the district court's discretion
                 to issue stays.

Id. at 73-74.1

       In Rhines v. Weber, the Court held that federal district courts could use a stay-and-

abeyance procedure in “limited circumstances” where the petitioner shows good cause

for failing to exhaust, the unexhausted claim is potentially meritorious, and the petitioner

has not engaged in abusive litigation tactics or intentional delay. 544 U.S. at 277-78.




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        Enelow was overruled on other grounds by Gulfstream Aerospace Corp. v. Mayacamas Corp.,
485 U.S. 271 (1988) (explaining that Enelow’s decision that a denial of a stay request for the
determination of an equitable defense in an action at law was immediately appealable under the
interlocutory appeal rule in § 1292(a)(1) was because law and equity were separate jurisprudential
systems in the federal court system in 1935).

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       In Pace v. DiGuglielmo, 544 U.S. 408, 416 (2005), the United States Supreme

Court authorized prisoners seeking to “avoid th[e] predicament” of a potentially late

filing while they continued trying to exhaust some of their federal claims in state court to

use the stay-and-abeyance procedure to file a “protective” petition in federal court to

meet the statute of limitations deadline. These “protective” petitions, which have

historically been used in other types of cases, put an element of delay back into federal

habeas corpus procedure that the Anti-Terrorism and Effective Death Penalty Act was

intended to eliminate. Further, the United States Court of Appeals for the Ninth Circuit

has declared that (1) the petition in Pace v. DiGuglielmo was “not mixed,” (2) “the

[Supreme] Court gave no indication that its statement applied only to mixed petitions,”

and (3) therefore, a petitioner now can file an entirely premature protective petition

containing only unexhausted claims. Mena v. Long, 813 F.3d 907, 910 (9th Cir. 2016).

       AEDPA has two purposes. One is to “reduce delays in the execution of state and

federal criminal sentences, particularly in capital cases.” Woodford v. Garceau, 538 U.S.

202, 206 (2003). The other is to “balance[] the interests served by the exhaustion

requirement and the limitation period by protecting a state prisoner’s ability later to apply

for federal habeas relief while state remedies are being pursued.” Rhines, 544 U.S. at 276

(internal quotation marks omitted). The Supreme Court has come right out and said that

“[s]taying a federal habeas petition frustrates AEDPA’s objective of encouraging finality

by allowing a petitioner to delay the resolution of the federal proceedings.” Id. at 277.




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       Furthermore, the Rhines Court warned: “Stay and abeyance, if employed too

frequently, has the potential to undermine [AEDPA’s] twin purposes.” Id. In addition, the

Supreme Court observed:

              [N]ot all petitioners have an incentive to obtain federal relief
              as quickly as possible. In particular, capital petitioners might
              deliberately engage in dilatory tactics to prolong their
              incarceration and avoid execution of the sentence of death.
              Without time limits [on stays], petitioners could frustrate
              AEDPA's goal of finality by dragging out indefinitely their
              federal habeas review.

Id. at 277–78. When a habeas petitioner “engages in abusive litigation tactics or

intentional delay, the district court should not grant him a stay at all.” Id. at 278.

       This history shows that court precedent on stays has evolved from Rhines v.

Weber’s admonition that “stay and abeyance should be available only in limited

circumstances,” 544 U.S. at 277, to Mena v. Long’s broad invitation that seems to say,

“Come one, come all,” regardless of whether any attempt at state court exhaustion has

been made, 813 F.3d at 910. This liberal philosophy has filled the federal district court

dockets with thousands of premature cases that AEDPA never intended to be here.

       Given the age of Petitioner’s case already—thirteen years post-conviction—and

the fact that time only dims witness memories and makes stale other evidence, the Court

has determined that it will exercise its discretion to require Petitioner to proceed on some

of his fully-exhausted claims and deny the stay request without prejudice to Petitioner

renewing it after adjudication of the fully-exhausted claims, if necessary. The Court goes

forward with the case in this manner, believing that this case management plan best



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resolves the “the tension between the swift vindication of the petitioner’s constitutional

rights and the comity principles undergirding the doctrine” of full exhaustion. Galtieri v.

Wainwright, 582 F.2d 348, 354 (5th Cir. 1978).

        In addition, the Court has reviewed the claims in the federal Petition and compared

them to the claims already decided by, and currently before, the Idaho courts to ensure

that the claims are not intertwined with each other2 and that the Idaho Supreme Court has

already finally decided the claims. The Court rejects the parties’ assertions—made

without any factual basis or specific example from Petitioner’s case facts—that there is

significant overlap between these claims and those pending before the Idaho district court

in the successive state post-conviction petition, that litigating the fully-exhausted claims

in federal court simultaneously with litigating the unexhausted direct appeal counsel

claims in state court will result in “unnecessarily convoluted and piecemeal litigation”

(Dkt. 3, p. 2), or that early litigation of the claims ready for adjudication on the merits

“would not be sensible or appropriate.” (Dkt. 10, p. 2.)

        The Court earlier suggested such a case management plan to the parties and asked

Petitioner to select a number of these claims that could be subject to early adjudication.

In response, Petitioner selected the following as potential candidates:




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         Currently, Petitioner is pursuing ineffective assistance of direct appeal counsel claims in his
successive post-conviction action—claims that could not have been brought in his first post-conviction
petition because the Idaho capital case scheme requires petitioners to bring their first post-conviction
action before direct appeal is completed, thus making it impossible to know whether there are any claims
of ineffective assistance of direct appeal counsel claims before the direct appeal is completed. (See Dkt.
3, p.1.) For example, in the successive petition, Petitioner has alleged that direct appeal counsel failed to
raise or inadequately raised dozens of claims. (Id., p. 2.)

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       (1) Claim 23: Mr. Abdullah Was Coerced into Not Testifying

       (2) Claim 24: The Jury Was Wrongly Instructed on Willfulness

       (3) Claim 30: The Idaho Supreme Court Violated Mr. Abdullah’s Rights by
       Retroactively Altering the Elements of Arson

       (4) Claim 38: The Trial Court Empaneled Biased Jurors

       (5) Claim 44: Mr. Abdullah’s Right to Allocute Was Violated

       (6) Claim 51: The Instruction on What Would Happen If the Jury Voted for
       Life Was Unconstitutional

       (7) Claim 54: There Was No Death Penalty in Effect at the Time of the
       Crime

       (8) Claim 55: The Aggravators Were Not Charged by Indictment, Not
       Subject to a Finding of Probable Cause, and Not Supported by Facts

Dkt. 11, pp. 2-3.)

       Of these suggested claims, the Court concludes that the following shall be

presently adjudicated, because they are fully exhausted and not intertwined with other

claims that may be unexhausted: Claims 24 (willfulness jury instruction), 30 (altered

elements of arson), 38 (biased jurors), 51 (vote for life instruction), 54 (no Idaho death

penalty in effect at time of crime), and 55 (aggravators not charged by indictment, no

probable cause finding, and not supported by facts). At the end of this phase of litigation,

if no relief is warranted, the parties will be given another opportunity to suggest a case

management plan to govern the remainder of the claims. By that time, the claims in

Petitioner’s successive state post-conviction petition may be fully exhausted. If not, a stay

may be appropriate, and Petitioner may renew his request at that time.




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            MOTION FOR ACCESS TO GRAND JURY TRANSCRIPTS

       Petitioner also requests that this Court order that he and his counsel be given

possession and unlimited access to the grand jury transcripts. (Dkt. 7.) Currently in place

in the closed first state post-conviction matter is an Idaho state district court order

prohibiting Petitioner from having a copy of the grand jury transcript in his possession.

Petitioner’s counsel state that they asked the state court in Petitioner’s successive state

post-conviction case to reconsider the prohibition on Petitioner retaining the transcript in

his cell and to allow the Capital Habeas Unit attorneys possession of the transcript for

investigatory purposes, but the state court did not address their request. (Dkts. 7-2, 7-3.)

       A court generally does not ignore requests of the parties, for that is the sole

purpose of the court’s existence, to adjudicate the claims and issues of the parties. It is

unclear whether the state district court’s failure to address Petitioner’s transcript requests

was a mere oversight. Therefore, Petitioner’s current motion will be denied without

prejudice, and Petitioner will be directed to bring the omission to the state court’s

attention, together with a clear explanation of why Petitioner believes he needs to possess

in his cell a copy of the grand jury transcript for his simultaneous federal habeas corpus

proceeding, as opposed to simply reading a redacted copy of it in the presence of a

Capital Habeas Unit employee or extern. Thereafter, if necessary, this Court will address

Petitioner’s counsel’s need for the transcript, which seems necessary for the thorough

investigation of Petitioner’s federal habeas claims, but which the state court may want to

address, since it is still adjudicating the successive post-conviction petition. The Court



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will separately address Petitioner’s need for the transcript, but he will be required to

make a specific showing that the transcript bears on the merits-based claims currently at

issue and that reading a redacted transcript in the presence of his attorney or his

attorney’s agents would significantly impair his use of the transcript.

                                          ORDER
       IT IS ORDERED:

       1. Petitioner’s Motion to Stay (Dkt. 3) is DENIED without prejudice.

       2. Petitioner’s Motion for Access to Grand Jury Transcript (Dkt. 7) is DENIED

          without prejudice.

       3. Counsel for the parties are ordered to confer and attempt to develop a briefing

          schedule for Claims 24 (willfulness jury instruction), 30 (altered elements of

          arson), 38 (biased jurors), 51 (vote for life instruction), 54 (no Idaho death

          penalty in effect at time of crime), and 55 (aggravators not charged by

          indictment, no probable cause finding, and not supported by facts). The joint or

          separate proposed briefing schedule(s) shall be filed within 42 days after entry

          of this Order.




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